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                                    STATEMENT OF FACTS

On 9/25/17, defendant JONATHAN TUAN TRAN was sentenced by U.S. District Court Judge
James Boasberg to a term of probation of 24 months following his conviction on one count of 18
U.S.C. §1752(a)(1), Entering or Remaining on Restricted Grounds, that is, the White House. As
a condition of probation, the defendant was ordered, among other things, to (1) stay away from
“entering the grounds of the National Mall or the White House”, (2) participate in mental health
treatment, and (3) not possess a firearm or other dangerous weapon. The sentencing order also
specified: “You must not knowingly leave the federal judicial district where you are authorized to
reside [in this case, the Northern District of California] without first getting permission from the
court or the probation officer.”

On 07/4/18, while under probation for the above offense, the defendant traveled by plane to the
District of Columbia without authorization from his probation officer or the Court. On 07/06/18,
at 1410hrs, the U.S. Capitol Police (USCP) notified the United States Secret Service (USSS) that
the defendant walked to the steps of the U.S. Capitol on the National Mall and also attempted to
gain entry to the office of Congressmen Devin Nunes (Chair of House Intel Committee). USCP
Intelligence Special Agents interviewed TRAN and drove him back to his hotel (Room #325, Hotel
Harrington, 436 11th Street NW, WDC). TRAN told the agents that he had a knife in his
belongings that he probably shouldn’t have. At the hotel, Tran gave the officers a TAC Force TF-
723 Series Assisted Opening Tactical Folding Knife, which has a springloaded blade in excess of
3¼ inches. Tran stated that he carries the knife for protection. USSS coordinated with SJO
regarding TRAN’s probation status. Once it was confirmed that TRAN was in violation of his
probation, a request for a bench warrant was directed to the U.S. Attorney’s Office and the U.S.
Probation Office for the District of Columbia. On 7/6/18, U.S. District Judge Amy Berman
Jackson issued a bench warrant for TRAN’s arrest for the Probation Violation.

On 7/6/18, at 18:27hrs, defendant TRAN was arrested by USSS officers on the Bench Warrant
inside Room 325 of the Hotel Harrington, approximately three blocks from the White House
complex. At approximately 1855hrs, after waiving his Miranda rights, TRAN stated that he knew
he was in violation of his court ordered probation but felt a burning desire to testify on Capitol Hill
about his Russian dossier theories publicized following the 2016 Presidential Campaign. TRAN
advised he traveled via one way plane ticket on Wednesday, July 4th and was not planning to
return to San Jose, CA. TRAN advised he has been noncompliant with his court ordered mental
health medication since January. TRAN also advised that family members and close friends were
aware of his travels and extremely displeased. TRAN advised he was urged to return home due to
consequences of violating his probation.

Among his belongings, in addition to the knife, TRAN had a copy of his U.S. District Court
Judgement & Commitment Order. TRAN was also in possession of a notebook containing
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handwritten notes that include what appears to be a list of tasks to complete. Under the caption
“Protection,” the notes list: “pocket knife” (lined out), “baseball bat” (lined out), “audio recorder”,
“documented photos/videos”, “FB Live”, “Backstory”, and “gun license?”

        TRAN also had several books, “Dangerous Personalities” by Joe Navarro, “Psychopath
Free”, by Jackson MacKenzie, “Trump: The Art of the Deal,” by Donald Trump and Tony
Schwartz, and “The Art of War,” by Sun Tzu, that contained highlighted and bookmarked sections;
consistent with books found on TRAN’s person during the March 2017 arrest at the White House.
TRAN also had sufficient personal items and toiletries among his belongings to sustain a
prolonged visit. This was confirmed with Hotel Harrington Staff, who stated TRAN originally
checked in for one night before extending and prepaying his room until Sunday, July 8 2018.

TRAN was subsequently transported to MPDC Central Cell Block for further processing.

Based on the foregoing, your affiant submits that there is probable cause to believe that the
defendant violated 18 U.S.C. § 401(3), Contempt of Court, and D.C. Code 22-4514(a), Possession
of Prohibited Weapon (Switchblade Knife).




                                               __________________________________________
                                               Bryin T. Cooper
                                               Officer, United States Secret Service




Sworn and subscribed to me before this ________________ day of July, 2018.




                                               __________________________________________
                                               The Honorable Deborah Robinson
                                               United States Magistrate Judge
